398 U.S. 936
    90 S.Ct. 1847
    26 L.Ed.2d 268
    James Edward CRAMPTON, petitioner,v.OHIO.
    No. 709, Misc.
    Supreme Court of the United States
    June 1, 1970
    
      1
      Motion for leave to proceed in forma pauperis granted. Petition for writ of certiorari to Supreme Court of Ohio granted limited to Questions 2 and 3 presented by the petition which read as follows:
    
    
      2
      '2. Whether the Ohio statute which provides that the trier of      fact shall determine both guilt and punishment in a single      verdict in cases of murder in the first degree violates      petitioner's right to be free from self-incrimination.
    
    
      3
      '3. Whether the Ohio statute which provides that the trier of      fact may grant or withhold a recommendation of mercy in cases      of murder in the first degree, and which provides no      standards or criteria to assist the trier of fact in making      such determination, violates petitioner's right to due      process and equal protection of the law.'
    
    
      4
      Case transferred to the appellate docket and placed on the summary calendar.
    
    